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  June 12, 2025

  VIA ECF
  Honorable Michael A Shipp, U.S.D.J.
  Honorable Rukhsanah L. Singh, U.S.M.J.
  United States District Court for the District of NJ
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

  Re:      Plaintiff Profile Form Deficiency List
           Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Shipp and Judge Singh:

         We write on behalf of the Johnson & Johnson Defendants regarding our June
  11, 2025 letter and the accompanying Plaintiff Profile Form (“PPF”) deficiency list
  [ECF No. 37948], which addresses the Court’s Orders to Show Cause. Since filing
  that letter, certain Plaintiffs have demonstrated that a PPF was submitted or their
  deficiency was otherwise resolved. Defendants will therefore file an amended
  deficiency list by Monday, June 16, 2025.

           Thank you for your consideration of this matter.

                                                         Respectfully submitted,

                                                         /s/ Jessica L. Brennan

  cc:      All Counsel of Record (via ECF)
